           Case 1:19-cv-00966-VJW Document 5 Filed 07/19/19 Page 1 of 2




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                                       No. 19-966C
                                   (Filed July 19, 2019)
                                 NOT FOR PUBLICATION

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                                         *
KEITH BYRD BEY,                          *
                                         *
                    Plaintiff,           *
                                         *
      V.                                 *
                                         *
THE UNITED STATES,                       *
                                         *
                    Defendant.           *
                                         *
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                                        ORDER

       On July 3, 2019, the complaint in this case was filed by prose plaintiff Keith
Byrd Bey. The court has reviewed Mr. Bey's complaint, which alleges that the
Superior Court of Bergen County New Jersey, and a court clerk, violated Mr. Bey's
constitutional rights while presiding over a foreclosure action involving his estate.
See Compl. at 1-2. In his request for relief, Mr. Bey also states that the Superior
Court inflicted emotional stress upon him, and that it engaged in a conspiracy to
defraud the plaintiff of his estate. See id. at 4. Due to the nature of Mr. Bey's
complaints, which are brought against state (not federal) actors for violations of
constitutional rights, and which otherwise sounds in tort or criminal law, our court
must dismiss this case for lack of subject-matter jurisdiction.

       Like many of the individuals who bring their own cases in our court without
the assistance oflawyers, Mr. Bey appears to misunderstand the purpose of our
court and the jurisdiction given to us by Congress. On the first page of the
complaint, Mr. Bey identifies the Tucker Act, 28 U.S.C. § 149l(a)(l), as the source of
our jurisdiction. But under that act, we are empowered only to hear claims of
violations by the federal government of laws and constitutional provisions that
mandate the payment of money when violated. See United States v. Mitchell, 463
U.S. 206, 216-17 (1983); Smith v. United States, 709 F.3d 1114, 1116 (Fed. Cir.
2013) ("To be cognizable under the Tucker Act, the claim must be for money
damages against the United States, and the substantive law must be money-




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          Case 1:19-cv-00966-VJW Document 5 Filed 07/19/19 Page 2 of 2




mandating."). Plaintiff's complaint does not allege that the federal government
violated a money-mandating law.

       To the extent that Mr. Bey complains about the actions of the S uperior Court
of Bergen County, New Jersey, our court is not empowered to hear claims brought
against state courts and state actors. See Kennedy u. United States, No. 18-826C,
2018 WL 3214115, at *2 (Fed. Cl. June 29, 2018) (explaining our lack of jurisdiction
over local governments and actors); Lord Noble Kato Bahari El u. United States, 127
Fed. Cl. 700, 704 (2016) (holding that the United States Court of Federal Claims
lacks jurisdiction over other tribunals including state courts); Gharb u. United
States, No. 12-911C, 2013 WL 4828589, at *6 (Fed. Cl. Sept. 9, 2013) (explaining
dual sovereignty and that states are not merely agents of the federal government).
Our court is also not empowered to hear matters brought under the criminal code.
See Joshua u. United States, 17 F.3d 378, 379-80 (Fed. Cir. 1994); Stanwycl?- u.
United States, 127 Fed. Cl. 308, 314-15 (2016). Similarly, Mr. Bey's claim of
emotion al stress inflicted upon him is outside our jurisdiction, since the Tucker Act
specifically proscribes the United States Court of Federal Claims from hearing torts
claims even when brought against the proper defendant. See 28 U.S.C. § 1491(a)(l);
see also Nashar u. United States, 82 Fed. Cl. 319, 320 (2008).

       When a plaintiff has failed to state a claim that falls within the subject-
matter jurisdiction of our court, a sua sponte dismissal is required. See Rule
12(h)(3) of the Rules of the United States Court of Federal Claims (RCFC) (stating
that "if the court at any time determines that it lacks subject-matter jurisdiction,
the court must dismiss the action"); see also Martinez u. United States, 281 F.3d
1376, 1380 (Fed. Cir. 2002); Sanders u. United States, 252 F .3d 1329, 1331 (Fed.
Cir. 2001). Since our court lacks subject-matter jurisdiction over M1·. Bey's
complaint it is therefore DISMISSED pursuant to RCFC 12(h)(3). The Clerk is
directed to close the case.t

IT IS SO ORDERED.




t   Mister Bey's application to p1·oceed in forma pauperis is hereby GRANTED.
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